         Case
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          "\ 2:14-cv-11691-LJM-MKM ECF No. 249-6, PageID.7267 Filed 06/06/18 Page 1 of 5
         �"
    MICHIGAN DEPARTMENT OF CORRECTIONS
    PRISONER/PAROLEE GRIEVANCE FORM                                              -                  L, · I        I      J-
                                                                                                                                   4835-4247 10/94
                                                                                                                                         CSJ-247A


l Date Received at Step I
�
                                                II           Grievance Identifier:                      I     I
,



    What attempt did you make to resolve this issue prior to writing this grievance? On what date? ---,--=--=-----=-----::-c:-:-:-:-:--:­
    If none, explain why.




    State problem clearly. Use separate grievance form for each issue. Additional pages, using plain paper, may be used.
    Four copies of each page and supporting documents must be submitted with this form. The grievance must be submitted
    to the Grievance Coordinator in accordance with the time limits of OP 03.02.130.




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                                                                                                            Gricvant·s Signature


    RESPONSE (Grievant Interviewed?                  0 Yes                 If No, give explanation. If resolved, explain resolution.)

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                                                                             (           l   J




    Respondent's Signature                                 Date       •
    Respondent's Name (Print)                   Working Title                Reviewer's Name (Print)                     Working Title

     Date Returned to             If resolved at Step I, Grievant sign here.
                       I {
     Gricvant: "'     \ \ I       Resolution must be described above.        Grievant's Signature
    DISTRIBUTION:       White, Green, Canary, Pink� Process to Step One; Goldenrod- Grievant
                                                                    Exhibit 5 - Dearduff's Grievance
             Case 2:14-cv-11691-LJM-MKM ECF No. 249-6, PageID.7268 Filed 06/06/18 Page 2 of 5
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li-�'t
    Step I Grievance Response



    Grievance Number:          STF 2016 06 060112Al

    Prisoner Name:             Dearduff

    Prisoner Number:           732738



    Prisoner       X   was        was NOT interviewed. GIVE REASON:



      SUMMARY OF COMPLAINT:

    The Grievant states that he has been unable to· get his teeth cleaned, two fillings completed and a partial completed by Dental.


       INVESTIGATION INFORMATION
    Per the Dental Department, the Grievant needs to send a request to Dental for cleaning and he wiH be put on the list.

    He does not qualify for a partial because he is missing too many teeth for a partial to hold.

    He sent a Dental Request on 4/13/16 for tooth pain and he was evaluated.on 4/13/16; no treatment�eeded for Dental,

    The Grievant sent another request to Dental on 5/12 complaining of pain. The Grievant was evaluated by Dental on 5/12/16 and
    there were no abnormalities noted and Dental states that if the ain continues they will extract tooth #12.

    SUMMARY
    . The Grievant is encouraged to send a Dental Request for cleaning and ifhe experiences any oral pain.



    RESPONDENT NAME:                                                                                TITLE:
    RESPONDENT SIGNATURE:                                                                           DATE:


    REVIEWER NAME:                                                                                  TITLE:

    REVIEWER SIGNATURE:                                                                             DATE:




                                                                    Exhibit 5 - Dearduff's Grievance
           Case 2:14-cv-11691-LJM-MKM ECF No. 249-6, PageID.7269 Filed 06/06/18 Page 3 of 5
           -   I   .,J" '.,



   ' MICHIGAN DEPARTMENT OF CORRECTIONS                                                                                               4835-4248 5/09
                                                                                                                                            CSJ-247B
     PRISONER/PAROIRl�EVANCE APPEAL FORM
                     ADMINISTRATIVE ASST
     Date Received by Grievance Coordinator Grievance Identifier:         I I I I I I I I I I I
                                                                                           I   I    I
     at _Step II:                 JUL 13 2016
                                                             &7F-/{, -Ou, -OUJDI _!/-tJ:?A-/
    INSTRUCTIONS: �1111� TO BE USED TO APPEAL A STEP I GRIEVANCE.
    Th� white copy �e�ievance Form CSJ-247A (or t                                                                                   e not been provided
    with a Step I response in a timely manner) MUST be attached to the                                       'IIYlll.llll:Al::1'111 appeal it at both Step
    II and Step III.
                                                                                                   AUG 10 2016
                                       I the    I grievance response to Step II, y ur appeal should be directe to:
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  r=._,,c-lE.fc5'-"'=-,.�....-�<.#-Jo-==- by                   If it is not submi �i�f:11!.-thl,tttcffls= nsidered terminated.

    If you shou.ld decide to appeal the response you receive at Step II, you should send your Step III Appeal to the Director's
    Office, P.O. Box 30003, Lansing, Michigan, 48909.
                                                      --- -------
      Name (Print first, last)                      Number                   Institution           Lock Number    Date of Incident     Today's Date

       Joey Dnrduff                                 1732731·                 STY                   •-1S3          ,.,_, fl..;.201 6     7..-11-19'14
      STEP II - Reason for:A)Jpeal Al�
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    STEP II - Response                                                                                                Date Received by
                                                                                                                      Step II Respondent:
                                                                                                                                       18 2016

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                                                                                                                      Date Returned to

    Respondent's Name (Print)
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    STEP III - Reason for Appeal St=p Tt...o Respordent, Patricia Lam, F?-J,                                                              HAS TOO r,w
    c:n the eligibility criteria ccrrtaired in the current MXC Deital Protocol, IT W1lil AFflEAR TI-lAT GRID/ANT
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    �O IE: Only copy of this appeal and the response will be returned to you.
    STEP III - Director's Response is attached as a separate sheet.

    DISTRIBUTION: White - Process to Step III; Green, Canary, Pink - Process to Step II; Goldenrod - Grievant
                                                                  Exhibit 5 - Dearduff's Grievance
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   Michigan Department of Corrections                                         STF-1606-601-llAl



   Grievance Step II Response                                                 DEARDUFF 732738


   Grievant claims that he has been subjected to an unreasonable delay re: provision of
   dental care, specifically a teeth cleaning, two fillings and a partial denture. Grievant
   states he was seen by Dental staff in December, 2015 and was told he could expect the
   aforementioned treatment "in the coming months ... and it is now 6/16/16, with no
   treatment in sight."

  Review of the electronic dental record reveals that grievant was evaluated on 12/3/15 and
  subsequently listed for cleaning, fillings and prosthetics. Initial tooth debridement was
  completed on 12/10/15. However, due to the sensitivity of grievant's teeth and his oral
  hygiene status, it was determined that further cleaning would require local anesthetic.
  This was partially completed on 7/19/16 when half of grievant's mouth was scaled and
  debrided following the administration of local anesthetic. The remainder of grievant's
  mouth will be similarly cleaned next week. Multiple fillings have been completed this
  month and grievant remains listed for more. At the conclusion of this process, the issue
  of the partial will be considered. However, based on the eligibility criteria contained in
  the current MDOC Dental Protocol, it would appear that grievant has too many posterior
  teeth still present to qualify for a partial denture. Loss of anterior (front) teeth is not
  among the current criteria for such prosthetics.

  Grievant is assured that every effort is made to see dental patients as swiftly as possible.
  It appears that some of the treatment planned for grievant has been completed. Should
  grievant experience adverse and/or worsening symptoms while waiting for the final
  dental appointments on his current treatment plan, he is encouraged to promptly contact
  the Dental Clinic at his facility.

  No further resolution can be offered at this time.




  Patricia Lamb. RN, BSN                (J'atricia Lam6. fR!N: fBS!JI
                                                                        JI,      July 27, 2016
  Respondent Name                       Respondent Signature                            Date




                                                Exhibit 5 - Dearduff's Grievance
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      Sten ill Grievance Resoonse
      JOEY DEARDUFF                        732738
      STF        16060601

                                                             .. .
      Grievant alleges he has been denied timely access to de(}tal services.

      All relevant information within the electronic medical record has been reviewed. Step I and
      Step II appropriately addressed this grievance and are affirmed at the Step ill appeal. In
      accordance with PD 04.06.150 (0) Prisoners requiring urgent dental services shall be seen
      as quickly as possible ... Prisoners on the waiting lists for routine dental services shall be
      seen in the order of placement on the lists. Treatment priority shall be based on the clinical
      and professional judgment of the dentist. No violation has been identified.

      Grievance appeal denied.

     Response of Bureau of Health Care Services                             Date:          9/7/2016

     Approved:�#�                                                           Date:       o/t;/Jb
                          R Har augh, RN


                                                                                 SEP 14 2016
      R.fuha.rdD.RussGrievance Section Office of Legal Affairs                      Date Mailed


      Ref.#          25214

      C:        Warden
               Regional Health Care Administrator             Northern
               Grievant




                                              Exhibit 5 - Dearduff's Grievance
